                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 ANTHONY HICKEY,                                   )
                                                   )
               Plaintiff,                          )
                                                   )
 v.                                                )        No.:     3:20-CV-186-PLR-DCP
                                                   )
 TROUSDALE CORRECTIONAL                            )
 COMPLEX, WASHBURN, CUDE, LT.                      )
 PORTER, CAPTAIN MCVAY,                            )
 SERGEANT HAWKINS, SERGEANT                        )
 GENT, SERGEANT MELLA, CHIEF                       )
 WHATENBURG, SERGEANT                              )
 RIBBONS, MR. BROWN, and                           )
 INTERNAL AFFAIRS,                                 )
                                                   )
               Defendants.                         )

                                  MEMORANDUM OPINION

       The Court is in receipt of a pro se prisoner’s civil rights complaint under 42 U.S.C. § 1983

[Doc. 2], and a motion for leave to proceed in forma pauperis [Doc. 1].

       Plaintiff’s complaint is against the Trousdale Turner Correctional Complex and staff

employed at the facility [See Doc. 2]. The general venue statute for federal district courts provides

in relevant part, as follows:

               A civil action may be brought in—(1) a judicial district in which any
               defendant resides, if all defendants are residents of the State in
               which the district is located; (2) a judicial district in which a
               substantial part of the events or omissions giving rise to the claim
               occurred, or a substantial part of property that is the subject of the
               action is situated; or (3) if there is no district in which an action may
               otherwise be brought as provided in this section, any judicial district
               in which any defendant is subject to the court’s personal jurisdiction
               with respect to such action.

28 U.S.C. § 1391(b)(1)-(3). A federal district court may transfer a civil action to any district or

division where it could have been filed originally “in the interest of justice.” 28 U.S.C. § 1406(a).




Case 3:20-cv-00186-PLR-DCP Document 8 Filed 06/05/20 Page 1 of 2 PageID #: 35
       Trousdale Turner Correctional Complex is located in Trousdale County, Tennessee.

Trousdale County lies within the Nashville Division of the Middle District of Tennessee. See 28

U.S.C. § 123(b). The Court therefore concludes that the proper venue for this case is the Nashville

Division of the Middle District of Tennessee.

       Accordingly, the Clerk will be DIRECTED to transfer this action to the Nashville Division

of the Middle District of Tennessee and CLOSE this Court’s file.

       SO ORDERED.

       ENTER:


                                      ____________________________________________
                                      CHIEF UNITED STATES DISTRICT JUDGE




                                                2

Case 3:20-cv-00186-PLR-DCP Document 8 Filed 06/05/20 Page 2 of 2 PageID #: 36
